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AO 455 (Rev. 01/09) Waiver of an Indictment


                                      UNITED STATES DISTRICT COURT
                                                                for the                                Fll.Ep IN OPEN ~';t,
                                                                                                                          T
                                                  Eastern District of North Carolina                   ON     J5   r /. (   7 IA .   .
                                                                                                   ,         Peter A. Moore, Jr., Clerk
                                                                                                             US District Court
                  United States of America                        )                                        · Eastern District of NC
                                 V.                               )       Case No.     5:17-CR-91-1BR
                                                                  )
                  Kenneth Preston Blevins                         )
                            Defendant                             )

                                                  WAIVER OF AN INDICTMENT
                                                     .                                         •       J
        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date: _ _05_/0_1_/2_0_1~7__                                                    ~;
                                                                                              Defendant's signature




                                                                                                                ant's attorney


                                                                                          Rhonda Graham Young




                                                                                                   Judge's signature


                                                                              Hon. W. Earl Britt, Senior U.S. District Judge
                                                                                         Judge's printed name and title




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